                          Case 21-00212          Doc 5     Filed 10/21/21       Page 1 of 2

                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                        at Greenbelt
                In re:    Case No.: 21−14649 − TJC         Chapter: 13      Adversary No.: 21−00212

Mahmoud Musa Abulhawa
Debtor

Kapitus Servicing, Inc. formerly Colonial
Funding Network, Inc. as servicing agent of
Strategic Funding Source, Inc d/b/a Kapitus
Plaintiff

vs.

Mahmoud Musa Abulhawa
Defendant


                           SUMMONS AND NOTICE OF PRE−TRIAL CONFERENCE

To the above named defendant:

YOU ARE SUMMONED and required to file with this court and to serve upon the plaintiff or the plaintiff's attorney:

                         Paige Smith
                         Sands Anderson PC
                         1497 Chain Bridge Road
                         Suite 300
                         McLean, VA 22101


either a motion or an answer to the complaint which is now served upon you.

    If you elect to respond first by motion, as you may pursuant to Bankruptcy Rule 7012, that rule governs the time
within which your answer must be served. Otherwise, you are required to serve your answer upon plaintiff's attorney
within 30 days of the date of issuance of this by the clerk except that the United States or an office or agency thereof
shall serve an answer to the complaint within 35 days after the date of issuance of the summons.

    The motion or answer served by you must be filed with this court either before service or within a reasonable time
after service. FAILURE TO RESPOND IN ACCORDANCE WITH THIS SUMMONS SHALL ACT AS
YOUR CONSENT TO ENTRY OF FINAL ORDERS AND JUDGMENTS BY THE BANKRUPTCY COURT,
AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED BY
THE COMPLAINT.

  YOU ARE HEREBY NOTIFIED THAT A PRE−TRIAL CONFERENCE WITH RESPECT TO THIS
COMPLAINT HAS BEEN SET FOR:

12/15/21 at 10:00 AM
by videoconference or teleconference
(for hearing access information see www.mdb.uscourts.gov/hearings or call 410−962−2688).

                                                                                                October 21st, 2021
Dated: 10/21/21
                                                            Mark A. Neal, Clerk of Court
                                                            by Deputy Clerk, Erica Cumberland
                                                            410−962−4221
                                Case 21-00212   Doc 5   Filed 10/21/21   Page 2 of 2

Form sumprtrl (rev. 08/18/20)




                                                                                       October 21st, 2021
